Case 8:21-cv-02055-DOC-ADS Document 1-1 Filed 12/15/21 Page 1 of 24 Page ID #:9




                        Exhibit A
      Case 8:21-cv-02055-DOC-ADS Document 1-1 Filed 12/15/21 Page 2 of 24 Page ID #:10
Case Summary:
Case Id: 30-2021-01230857-CU-BT-CXC
             JENALE NIELSON VS. WALT DISNEY PARKS AND RESORTS U.S., INC., A FLORIDA
Case Title:
            CORPORATION
Case
             BUSINESS TORT
Type:
Filing
             11/09/2021
Date:
Category: CIVIL - UNLIMITED
Register Of Actions:
                                                                 Filing Filing
ROA                              Docket                                        Document Select
                                                                 Date    Party
        E-FILING TRANSACTION 41262670 RECEIVED ON 11/09/2021
  1                                                           11/12/2021           NV
                              04:23:02 PM.
  2       COMPLAINT FILED BY NIELSON, JENALE ON 11/09/2021    11/09/2021        18 pages
        SUMMONS ISSUED AND FILED FILED BY NIELSON, JENALE
  3                                                           11/09/2021         1 pages
                              ON 11/09/2021
        CIVIL CASE COVER SHEET FILED BY NIELSON, JENALE ON
  4                                                           11/09/2021         2 pages
                               11/09/2021
            PAYMENT RECEIVED BY LEGALCONNECT FOR 194 -
       COMPLAINT OR OTHER 1ST PAPER, 34 - COMPLEX CASE FEE
  5                                                           11/12/2021         1 pages
         - PLAINTIFF IN THE AMOUNT OF 1,435.00, TRANSACTION
            NUMBER 12969616 AND RECEIPT NUMBER 12797535.
              CASE ASSIGNED TO JUDICIAL OFFICER SHERMAN,
  6                                                           11/09/2021           NV
                         RANDALL ON 11/09/2021.
        E-FILING TRANSACTION 21089829 RECEIVED ON 11/16/2021
  7                                                           11/16/2021           NV
                              02:07:51 PM.
           PROOF OF SERVICE OF SUMMONS FILED BY NIELSON,
  8                                                           11/16/2021         1 pages
                          JENALE ON 11/16/2021
Participants:
                         Name                          Type      Assoc Start Date End Date
VENTURA HERSEY & MULLER, LLP                       ATTORNEY            11/12/2021
WALT DISNEY PARKS AND RESORTS U.S., IN             DEFENDANT           11/12/2021
JENALE NIELSON                                     PLAINTIFF           11/12/2021
Hearings:
           Description          Date        Time           Department                Judge
                           Print this page
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Case 8:21-cv-02055-DOC-ADS Document 1-1 Filed 12/15/21 Page 6 of 24 Page ID #:14
Case 8:21-cv-02055-DOC-ADS Document 1-1 Filed 12/15/21 Page 7 of 24 Page ID #:15
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Case 8:21-cv-02055-DOC-ADS Document 1-1 Filed 12/15/21 Page 10 of 24 Page ID #:18
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Case 8:21-cv-02055-DOC-ADS Document 1-1 Filed 12/15/21 Page 12 of 24 Page ID #:20
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Case 8:21-cv-02055-DOC-ADS Document 1-1 Filed 12/15/21 Page 23 of 24 Page ID #:31
           Electronically Filed by Superior Court of California, County of Orange, 11/16/2021 02:07:00 PM.
   Case 8:21-cv-02055-DOC-ADS
 30-2021-01230857-CU-BT-CXC       - ROA # 8Document       1-1 Filed Clerk
                                             - DAVID H. YAMASAKI,     12/15/21      PageBy24
                                                                            of the Court      of 24 Page
                                                                                           efilinguser, DeputyID #:32
                                                                                                               Clerk.
                                                                                                                 POS-010
  ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                              FOR COURT USE ONLY
    Daniel Muller, 193396
    Ventura Hersey & Muller, LLP
    1506 Hamilton Avenue
    San Jose, CA 95125
          TELEPHONE NO.: (408)512-3022
     ATTORNEY FOR (Name): Plaintiff

  SUPERIOR COURT OF CALIFORNIA, COUNTY OF
 Superior Court of California, Orange County
 751 W. Santa Ana Blvd.
 Santa Ana, CA 92701
      PLAINTIFF/PETITIONER: Jenale Nielsen, et al.                                                    CASE NUMBER:


                                                                                                     30-2021-01230857-CU-BT-CXC
 DEFENDANT/RESPONDENT: Walt Disney Parks and Resorts U.S., Inc., et al.

                                                                                                      Ref. No. or File No.:

                                    PROOF OF SERVICE OF SUMMONS

1. At the time of service I was a citizen of the United States, at least 18 years of age and not a party to this action.
2. I served copies of:
Complaint, Summons, Civil Case Cover Sheet



3. a. Party served: WALT DISNEY PARKS AND RESORTS U.S., INC., a Florida corporation
    b. Person Served: CSC - Lai Saevang - Person Authorized to Accept Service of Process

4. Address where the party was served:            2710 Gateway Oaks Drive, Suite 150N
                                                  Sacramento, CA 95833
5. I served the party
     a. by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
        receive service of process for the party (1) on (date): 11/15/2021                (2) at (time): 1:45PM
6. The "Notice to the Person Served" (on the summons) was completed as follows:




      d. on behalf of:

      WALT DISNEY PARKS AND RESORTS U.S., INC., a Florida corporation
      under: CCP 416.10 (corporation)
7. Person who served papers
   a. Name:        Tyler Anthony DiMaria
   b. Address:     One Legal - P-000618-Sonoma
                                 1400 North McDowell Blvd, Ste 300
                                 Petaluma, CA 94954

  c. Telephone number: 415-491-0606
  d. The fee for service was: $ 40.00
  e I am:
       (3) registered California process server.
             (i) Employee or independent contractor.
             (ii) Registration No.: 2006-06
            (iii) County: Sacramento
8. I declare under penalty of perjury under the laws of the United States of America and the State of California that the foregoing is true and correct.
Date:     11/15/2021


                    Tyler Anthony DiMaria
                     (NAME OF PERSON WHO SERVED PAPERS)                                                       (SIGNATURE)
  Form Adopted for Mandatory Use                                                                                                 Code of Civil Procedure, § 417.10
Judicial Council of California POS-010
        [Rev. Jan 1, 2007]                             PROOF OF SERVICE OF SUMMONS
                                                                                                                    OL# 17225034
